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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                     :
                                             :
              v.                             :
                                             :       Case Number 21-cr-175 (TJK)
ETHAN NORDEAN et al.,                        :
                                             :
                      Defendants.            :

                 UNITED STATES’ NOTICE OF RECENT AUTHORITY
                RELEVANT TO DEFENDANTS’ MOTIONS TO DISMISS

       The United States respectfully files this notice to alert the Court and counsel to recent

authority relevant to defendant Ethan Nordean’s motion to dismiss (ECF 94), which has been

joined by defendants Joseph Biggs and Charles Donohoe and is scheduled for oral argument on

September 21, 2021.

       On September 15, 2021, in a case pending in the District of Oregon, the district court issued

an opinion and order denying defendant’s motion to dismiss an indictment charging a violation of

18 U.S.C. § 231(a)(3). United States v. Kevin Phomma, 3:20-cr-465-JO, ECF No. 37 (D. Or.

Sept. 15, 2021) (attached as Exhibit 1). In particular, the government directs the Court and

counsel’s attention to the Phomma court’s rejection of arguments that 18 U.S.C. § 231(a)(3)

violates the First and Fifth Amendments because it is either overbroad, potentially criminalizing

protected speech, or unconstitutionally vague. See Ex. 1 at 8-13.
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                            Respectfully submitted,

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